                                  CASE 0:20-cr-00078-DSD-DTS Doc. 9 Filed 01/23/20 Page 1 of 1

                                              IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                               )            COURT MINUTES - CRIMINAL
                                                        )             BEFORE: Katherine M. Menendez
                                     Plaintiff,         )                 U.S. Magistrate Judge
                                                        )
   v.                                                   )   Case No:            20-mj-21 DTS
                                                        )   Date:               January 23, 2020
Jeffrey L Rewey,                                        )   Courthouse:         Minneapolis
                                                        )   Courtroom:          8E
                                     Defendant.         )   Time Commenced:     3:21 p.m.
                                                            Time Concluded:     3:39 p.m.
                                                            Time in Court:      18 minutes



                 X PRELIMINARY/DETENTION HRG
                    Time in Court Prelim/Det: 1 minute/ 17 minutes

APPEARANCES:
   Plaintiff: Tom Calhoun-Lopez, Assistant U.S. Attorney
   Defendant: Doug Micko, Assistant Federal Public Defender
                  X FPD


On              X Complaint


 X Personal Recognizance Bond set with conditions, see Order Setting Conditions of Release.

   X Probable cause found. Deft bound over to District Court of Minnesota



Additional Information:

X Preliminary hearing waived.

X Deft detained until a bed is available.


                                                                                                  s/Sarah Erickson
                                                                                    Signature of Courtroom Deputy




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